Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 1 of 7




                              UNITED STA TES DISTRIC T C O URT
                              SO UTH ERN D ISTR ICT O F FLO RIDA
                           CA SE NO .18-20141-cr-M O O RE/SIM O N TO N

   UNITED STATES O F A M ERICA



   JUAN CARLO S R OD RIG UEZ,
        a/k/a GEIDoctor,''

                       Defendant.
                                     /

                                         PLEA AG R EEM ENT

          TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(ûdthisOfGce''land
   Juan CarlosRODRIGUEZ,a/k/a tVEIDoctors'f(hereinafterreferred to asthe ûbdefendanf')enter
   into the follow ing agreem ent:

                  The defendantagrees to plead guilty to Counts l5 through 17 of the Indictment,

   which counts charge the defendantw ith selling,offering to sell,bartering, and offering to barter

   m igratory birds, in violation of the M igratory Bird Treaty Act,Title l6, U nited States Code,

   Sections703and 707(b)(2).
                 The elem entsofthisO ffense are:

                         Thatthe defendantsold,offered forsale,bartered, oroffered to barterany
                         m igratory bird;and

                 (2): Thatthedefendantdidsoknowingly.
                 This Office agrees to seek dism issal of Counts 1 through 14 and 18 of the

   Indictm ent,asto thisdefendant,aftersentencing.

          4.     The defendant is aware that the sentence w ill be im posed by the Court after

   considering the advisory Federal Sentencing Guidelines and Policy Statem ents (hereinafter
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 2 of 7




   ftsentencing Guidelines''). The defendant acknowledges and understandsthatthe Courtwill
   com pute an advisory sentence underthe Sentencing Guidelinesand thatthe applicable guidelines

   w illbedeterm ined by theCourtrelying in parton the resultsofapre-sentence investigation by the

   Court'sprobationoffice,w hich investigation w illcom m ence afterthe guilty plea hasbeen entered.

   The defendant is also aware that,under certain circum stances, the Courtm ay depart from the

   advisory sentencing guideline range that it has com puted, and m ay raise or lowerthat advisory

   sentence underthe Sentencing Guidelines. The defendant is furtheraw are and understands that

   the Courtis required to consider the advisory guideline range detennined under the Sentencing

   Guidelines,butisnotbound to im posea sentence withinthatadvisory range;theCourtispennitted

   to tailorthe ultim ate sentence in lightofotherstatutory concerns, and such sentence m ay be either

   m ore severe orlesssevere than the Sentencing G uidelines'advisory range. Know ing these facts,

   the defendant understands and acknowledges that the Court has the authority to im pose any

   sentence within and up to the statutory m axim um authorized by Iaw forthe offenses identified in

   paragraph I and thatthe defendantm ay notw ithdraw the plea solely as a resultofthe sentence

   im posed.

                  The defendant also understands and acknow ledges thatthe Courtm ay im pose a

   statutory m axim um term of imprisonm entof up to tw o years perCount,follow ed by a term of

   supervised release ofup to one yearper Count. These sentences of im prisonment m ay be run

   consecutively, for a total sentence of six years' im prisonm ent.       In addition to a term of

   imprisonmentand supervised release,theCourtmay imposeafineofupto $250,000 perCountor
   tw ice the gross gain orlossand m ay orderforfeiture and restitution.

          6.     The defendant further understands and acknowledges that, in addition to any

   sentence im posed underparagraph 5 ofthisagreem ent, aspecialassessmentintheamountof$300
                                                   2
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 3 of 7




   w illbe im posed on the defendant. The defendant agrees that any specialassessm ent imposed

   shallbe paid at the tim e of sentencing. If a defendant is financially unable to pay the special

   assessm ent,the defendantagreesto presentevidence to this Office and the Courtatthe tim e of

   sentencing asto thereasonsforthe defendant'sfailure to pay.

          7.      This O ftsce reserves the rightto inform the Courtand the probation office of all

   factspertinentto thesentencing process,including aIIrelevantinform ation concerningtheoffenses

   com m itted, whether charged or not, as well as concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofanyagreed-upon sentencingrecommendations
   contained in thisagreem ent,thisO ffice furtherreservesthe rightto m ake any recomm endation as

   to the quality and quantity ofpunishm ent.

          8. ThisO ftice agreesthat itw illrecom m tnd atsentencing thatthe Courtreduce by two

   Ievelsthe sentencing guideline levelapplicable to the defendant's offense, pursuantto Section

   3EI.1(a)ofthe Sentencing Guidelines,based upon the defendant'srecognition and affirmative
   and timely acceptance of personalresponsibility. If at the tim e of sentencing the defendant's

   offense Ievel is determ ined to be l6 or greater, this O ffice w ill tile a m otion requesting an

   additionalone Ieveldecrease pursuantto Section 3EI. 1(b)ofthe Sentenci
                                                                        ng Guidelines,stating
   thatthe defendanthas assisted authorities in the investigation orprosecution ofthe defendant's

   own m isconductby tim ely notifying authorities of the defendant's intention to enter a plea of

   guilty, thereby perm itting the governm ent to avoid preparing for trial and perm itting the

   governm ent and the Courtto allocate their resources efficiently. This O ffice further agrees to

   recom m end thatthedefendantbe sentenced within the guideline range, asthatrange isdeterm ined

   by the Court. This Office, how ever, w ill not be required to m ake this m otion and these

   recommendations ifthe defendant:(1)fails or refuses to make a full,accurate and complete
                                                  3
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 4 of 7




   disclosure to the probation office ofthe circum stances surrounding the relevantoffense conduct'
                                                                                                  ,


   (2) isfound to have misrepresented facts to the governmentpriorto entering into this plea
   agreement;or(3)commitsany misconductafterenteringintothispleaagreement,includingbut
   notlim ited to com m itting a state orfederaloffense,violating any term ofrelease, orm aking false

   statem entsorm isrepresentationsto any governm entalentity orofficial.

                 This Office and the defendantagree that,although not binding on the probation

   ofticeortheCourt,theywilljointlyrecommendthattheCourtmakethefollowingGndingsand
   conclusionsasto the sentence to be im posed'
                                              .

                         Com m ercialPurpose:That the defendant should receive a two-level

   increase because the offense w as com m itted for pecuniary gain or otherwise involved a

   commercialpurpose,orinvolvedapatternofsimilarviolationspursuanttoSection2Q2.1(b)(l)of
   the Sentencing G uidelines.

                 (2). Loss:Thatthedefendantshouldreceiveatwo-levelincreasefortherelevant
   am ountofactual,probable orintended Iossresulting from the offensescom m itted,which isgreater

   than $6,500 butlessthanorequalto $15,000,underSection 2B1.1(b)(l)(B)ofthe Sentencing
   Guidelines.

                 (3). UseofSpecialSkill:Thatthedefendantshould receive atwo-levelincrease
   for use of a special skill in the com m ission of the offense pursuant to Section 3Bl.3 of the

   Sentencing Guidelines.

          l0.    This Office and the defendant agree that,although not binding on the probation

   office ortheCourt,they willjointly recommend thattheCourtimpose asentence within the
   advisory sentencing guideline range produced by application of the Sentencing G uidelines. If

   however, probation determ ines that the defendant's offense level exceeds Zone B of the
                                                  4
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 5 of 7




   Sentencing Table,the Offsce agreesthatthe defendantm ay argue for a dow nw ard variance to a

   sentence within Zone B ofthe Sentencing Table. The O ffice willoppose any such dow nw ard

   variance.

           Il. The defendant further agrees to forfeit to the United States voluntarily and

   im m ediately alIproperty constituting,orderived from proceedsobtained,directly orindirectly, as

   a resultofthe violationsand any property used,or intended to be used,in any m annerorpart,to

   com m itorfacilitatethe com m ission oftheviolations.Theproperty includes,butisnotIim ited to:

                  (a)    Birdcages;
                  (b)    Bird traps;
                         Bird seed;and

                  (d)    M igratory birds.
          12.     The defendant also agrees to fully cooperate with the G ovtrnm ent in aII

   proceedings,whetheradministrativeorjudicial,involvingtheforfeituretotheUnitedStatesofaIl
   rights,title,and interest,regardlessoftheirnatureorform ,in aIlassets,including realand personal

   property,cash and otherm onetary instrum ents,w hereverIocated,which the defendantorothers

   to the defendant's know ledge have accum ulated as a resultof illegalactivities. Such assistance

   willinvolve the defendant's agreementto the entry of an order enjoining the transfer or
   encumbranceofassetsthatmay be identified asbeing subjectto forfeiture,including butnot
   Iim ited to those specific real and personal properties set forth in the forfeiture counts of the

   indictment, Additionally,defendantagreesto identify asbeing subjectto forfeiture aIIsuch
   assets,and to assistin the transferofsuch property to the United Statesby delivery to thisO ffice

   upon thisO ffice'srequest,allnecessary and appropriatedocum entation w ith respectto said assets,


                                                  5
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 6 of 7




   including consentsto forfeiture,quitclaim deeds and any and a1lotherdocum ents necessary to

   delivergood and m arketable title to said property.

                 The defendant know ingly and voluntarily w aives alI constitutional, legal and

   equitable defensesto the forfeiture ofthe assets in anyjudicialoradministrativeproceeding,
   including any claim ordefense underthe Eighth Am endm ent to the United States Constitution;

   waivesanyapplicabletimeIimitstotheinitiationofadministrativeorjudicialproceedings,and
   w aivesany rightto appealthe forfeiture.

          14.     The defendant further agrees that forfeiture is independent of any assessm ents,

   fines,costs,restitution orders,orany otherpenalty thatm ay be im posed by the Court.

          l5.     Defendantrecognizes thatpleading guilty m ay have consequencesw ith respectto

   the defendant's im m igration status if the defendant is not a natural-born citizen of the United

   States. Underfederallaw ,abroad range ofcrim esare rem ovable offenses,including the offenses

   to w hich defendantispleading guilty. In addition,undercertain circum stances,denaturalization

   may also be a consequence ofpleading guilty to a crim e. Rem oval,denaturalization,and other

   immigration consequences are thesubjed ofa separate proceeding,however,and defendant
   understandsthatno one,including the defendant'sattorney orthe Courq can predictto a certainty

   the effect of the defendant's conviction on the defendant's im m igration status. Defendant

   nevertheless affirm s that the defendant wants to plead guilty regardless of any im m igration

   consequences that the defendant's plea m ay entail,even ifthe consequence is the defendant's

   denaturalization and autom atic rem ovalfrom the United States.

                The defendantisaw are thatthe sentence has not yetbeen determ ined by the Court.

   The defendantalso is aware thatany estim ate ofthe probable sentencing range orsentence that

   thedefendantm ay receive,whetherthatestim ate com esfrom the defendant'sattorney,thisOffice,
                                                  6
Case 1:18-cr-20141-KMM Document 19 Entered on FLSD Docket 05/11/2018 Page 7 of 7

     -6




   or the probation office, is a prediction,not a prom ise, and is not binding on this O ffice, the

   probation office orthe Court. The defendantunderstands furtherthatany recom m endation that

   this Office m akesto the Courtas to sentencing,w hetherpursuantto this agreem entorotherw ise,

   isnotbinding on the Courtand the Courtm ay disregard the recom m endation in itsentirety. The

   defendantunderstandsand acknow ledges,aspreviously acknow ledged in paragraph 4 above, that

   thedefendantm ay notw ithdraw hispleabased upon the Court'sdecision notto accepta sentencing

   recommendation madeby thedefendant,thisOffice,orarecommendation madejointly by the
   defendantand thisO ffice.

              This istheentire agreem entand understanding betw een thisOfficeandthedefendant.

   There are no otheragreements,prom ises,representations,orunderstandings.


                                              BENJA M m G.G REEN BERG
                                              UN ITED STATES ATTO RN EY


   Date:        l1 J                   By:                 -                    -
                                              J        A . A ICH
                                                  S   TA       ITED STATES ATTO RN EY


   Date: G q                           By:
                                              KATI CA RM N ,A FPD
                                              ATTO RN EY FO R DEFEN DAN T


   oate:       Oll%                    By:
                                              JU AN CA R O         DR IG UEZ
                                              DEFEN D
